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 5   Attorney for Non-Party FitNow, Inc.                    CLERK, U.S. DISTRICT COURT
                                                         NORTHERN DISTRICT OF CALIFORNIA
 6                                                               SAN FRANCISCO
     [Additional counsel on signature page]
 7

 8                               UNITED STATES DISTRICT COURT

 9                             NORTHERN DISTRICT OF CALIFORNIA

                                           OAKLAND DIVISION

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12
     IN RE APPLE !PHONE ANTITRUST                  Case No. 4:11-cv-06714-YGR
13   LITIGATION
                                                   STIPULATED [PROPOSED]
14                                                 SUPPLEMENTAL PROTECTIVE ORDER
                                                   GOVERNING DISCOVERY FROM
15                                                 FITNOW, INC.

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                                        STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                       GOVERNING DISCOVERY FROM FITNOW, INC.
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 1          WHEREAS the parties to In re Apple iPhone Antitrust Litigation (the "Parties") agreed to

 2   a Stipulated Protective Order on January 6, 2020 (Case No. 4: 11-cv-06714-YGR, Dkt. No. 195);

 3          WHEREAS the Court entered the Stipulated Protective Order on January 9, 2020 (Case

 4   No. 4:11-cv-06714-YGR, Dkt. No. 199);

 5          WHEREAS the Court subsequently entered a Stipulated Amended Protective Order on

 6   January 21, 2021 (ECF No. 381) (the "Protective Order");

 7          WHEREAS Paragraph lO(a) of the Protective Order states that "[t]he terms of this Order

 8   are applicable to information produced by a Non-Party in this action" and that "[n]othing in these

 9   provisions should be construed as prohibiting a Non-Party from seeking additional protections";

10          WHEREAS Plaintiffs in the litigation have served a subpoena on FitNow, Inc.

11   d/b/a Lose It ("FitNow");

12          WHEREAS FitNow has objected to the production of competitively sensitive information

13   in response to the subpoena served on it in the litigation in the absence of certain additional

14   protections beyond those set forth in the Protective Order agreed to by the Parties to the litigation;

15          WHEREFORE, IT IS HEREBY ORDERED that documents produced by FitNow in

16   connection with the litigation shall be subject to the terms of the Protective Order and further

17   subject to the following provisions (the "Supplemental Protective Order"):

18   A.     GENERAL PROVISIONS
19           1.     The definitions, terms and provisions contained in the Protective Order shall be

20   incorporated herein by reference as though fully set forth herein; provided, however, that in the

21   event of a conflict between any definition, term or provision of this Supplemental Protective Order

22   and any definition, term or provision of the Protective Order, this Supplemental Protective Order

23   will control with respect to such conflict.

24          2.      The definitions, terms and provisions contained in this Supplemental Protective

25   Order shall apply only to those Discovery Materials produced by FitNow, and nothing herein shall

26   provide any rights or protections to the Parties to the litigation beyond those set forth in the

27   Protective Order.

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 1   B.     ADDITIONAL DEFINITIONS

 2           1.     Business Consultant: a consultant advising on or involved m competitive

 3   decision-making.

 4          2.      Party Expert: with respect to "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE

 5   COUNSEL EYES ONLY," a person with specialized knowledge or experience in a matter pertinent

 6   to the litigation who: (1) has been retained by a Party or its counsel to serve as an expert witness or

 7   as a consultant in this action; (2) is not a current employee or current Business Consultant of a Party,

 8   FitNow, or of any FitNow competitor, 1 or otherwise currently involved in competitive decision-

 9   making for a Party, FitNow, or for any FitNow competitor; (3) has not, within the 12 months

10   preceding the entry of this Supplemental Protective Order, been an employee or Business

11   Consultant of a Party, FitNow, or any FitNow competitor, or otherwise been involved in

12   competitive decision-making for a Party, FitNow, or any FitNow competitor; and (4) at the time of

13   retention, is not anticipated to become an employee or Business Consultant of a Party, FitNow, or

14   of any FitNow competitor, or to be otherwise involved in competitive decision-making for a Party

15   or for any FitNow competitor. If, while this action is pending, a Party learns that any of its retained

16   experts or consultants as defined herein is anticipating to become, or has become, an employee or

17   Business Consultant of FitNow or any FitNow competitor, or otherwise involved in competitive

18   decision-making for FitNow or any FitNow competitor, the Party learning such information shall

19   promptly disclose the information to FitNow.

20           3.      "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY"

21   Information or Items: extremely sensitive "Confidential Information or Items" produced by FitNow

22   and that contain algorithms and source code; non-public, commercially sensitive customer lists or

23   communications; non-public financial, marketing, or strategic business planning information; non-

24   public information regarding prices, costs, margins, or other financial metrics; information relating

25   to research, development, testing of, or plans for existing or proposed future products; non-public

26
             1 References to "competitors" within this Supplemental Protective Order shall be interpreted
27
     to mean competitors of FitNow and its affiliates, including those persons or entities that provide
28   similar products or services as FitNow or its affiliates.
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                                           STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
                                                           GOVERNING DISCOVERY FOR FITNOW, INC.
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 1   information concerning FitNow's data protection practices and security protocols; evaluation of the

 2   strengths and vulnerabilities of FitNow's product offerings, including non-public pricing and cost

 3   information; confidential contractual terms, proposed contractual terms, or negotiating positions

 4   (including internal deliberations about negotiating positions) taken during contract negotiations;

 5   information relating to pending or abandoned patent applications that have not been made available

 6   to the public; confidential submissions to governmental entities describing FitNow l's legal

 7   positions or theories; personnel files; sensitive personally identifiable information; and

 8   communications that disclose any such information, disclosure of which to a Party or another Non-

 9   Party would create a substantial risk of serious harm.

     C.     ADDITIONAL PROTECTIONS FOR ACCESS TO AND USE OF FITNOW

11   PROTECTED MATERIALS

12           1.     Manner of Designating "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE

13   COUNSEL EYES ONLY" Information or Items. Designation in conformity with this Supplemental

14   Protective Order requires:

15                  (a)     for information in documentary form ( e.g., paper or electronic documents,

16   but excluding transcripts of depositions or other pretrial or trial proceedings), that FitNow affix the

17   legend "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY" to each

18   page of any document for which FitNow seeks protection under this Supplemental Protective Order.

19   If only a portion or portions of the material on a page qualifies for protection, FitNow 1 also must

20   clearly identify the protected portion(s) ( e.g., by making appropriate markings in the margins).

21                  If FitNow makes original documents or materials available for inspection, it need

22   not designate them for protection until after the inspecting Party has indicated which material it

23   would like copied and produced. During the inspection and before the designation, all of the

24   material made available for inspection shall be deemed "FITNOW HIGHLY CONFIDENTIAL -

25   OUTSIDE COUNSEL EYES ONLY." After the inspecting Party has identified the documents it

26   wants copied and produced, FitNow must determine which documents, or portions thereof, qualify

27   for protection under this Supplemental Protective Order. Then, before producing the specified

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 1   documents, FitNow must affix the appropriate legend ("FITNOW HIGHLY CONFIDENTIAL -

 2   OUTSIDE COUNSEL EYES ONLY") to each page that contains such material. If only a portion

 3   or portions of the material on a page qualifies for protection, FitNow also must clearly identify the

 4   protected portion( s) ( e.g., by making appropriate markings in the margins).

 5                  (b)      for testimony given in deposition or in other pretrial proceedings not

 6   involving the Court, that FitNow identify on the record, before the close of the deposition, hearing,

 7   or other proceeding, all protected testimony. When it is impractical to identify separately each

 8   portion of testimony that is entitled to protection and it appears that substantial portions of the

 9   testimony may qualify for protection, FitNow may invoke on the record (before the deposition,

10   hearing, or other proceeding is concluded) a right to have up to 21 days to identify the specific

11   portions of the testimony as to which protection is sought. During that period, the entirety of the

12   transcript shall be treated as "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL

13   EYES ONLY." Only those portions of the testimony that are appropriately designated for

14   protection within the 21 days shall be covered by the provisions of this Supplemental Protective

15   Order. Alternatively, FitNow may specify, at the deposition or up to 21 days afterwards if that

16   period is properly invoked, that the entire transcript shall be treated as "FITNOW HIGHLY

17   CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY." With respect to trial, FitNow can

18   petition the Court for appropriate protective measures which shall be requested in advance of

19   evidence being taken.

20                  In the event that any of the Parties reasonably expect a deposition, hearing, or other

21   proceeding to include "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES

22   ONLY" Information or Items, they shall give notice to the other Parties and FitNow so that the

23   other Parties can ensure that only authorized individuals identified in paragraph C.2 below who

24   have signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A) are present at those

25   proceedings. The use of a document as an exhibit at a deposition shall not in any way affect its

26   designation as "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY."

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                                          STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
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 1                  Transcripts containing "FITNOW HIGHLY CONFIDENTIAL -                         OUTSIDE

 2   COUNSEL EYES ONLY" Information or Items shall have an obvious legend on the title page that

 3   the transcript contains such material, and the title page shall be followed by a list of all pages

 4   (including line numbers as appropriate) that have been designated as "FITNOW HIGHLY

 5   CONFIDENTIAL- OUTSIDE COUNSEL EYES ONLY". FitNow shall inform the court reporter

 6   of these requirements. Any transcript that is prepared before the expiration of a 21-day period for

 7   designation shall be treated during that period as if it had been designated "FITNOW HIGHLY

 8   CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY" in its entirety unless otherwise agreed.

 9   After the expiration of that period, the transcript shall be treated only as actually designated.

                    (c)      for information produced in some form other than documentary and for any

11   other tangible items, that FitNow affix in a prominent place on the exterior of the container or

12   containers in which the information or item is stored the legend "FITNOW HIGHLY

13   CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY." If only a portion or portions of the

14   information or item warrant protection, FitNow, to the extent practicable, shall identify the

15   protected portion(s).

16          2.      Disclosure of "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL

17   EYES ONLY" Information or Items. Unless otherwise ordered by the Court or permitted in writing

18   by FitNow, a Party may disclose any information or item designated "FITNOW HIGHLY

19   CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY" only to:

20                  (a)      the Party's Outside Counsel of Record in this action, as well as employees

21   of said Outside Counsel of Record to whom it is reasonably necessary to disclose the information

22   for the litigation and who have signed the "Acknowledgement and Agreement to be Bound" that is

23   attached to the Protective Order as Exhibit A;

24                  (b)      Designated    House    Counsel    of the    Party   who    have    signed   the

25   "Acknowledgement and Agreement to be Bound" that is attached to the Protective Order as Exhibit

26   A, but only in the event that (i) information designated "FITNOW HIGHLY CONFIDENTIAL -

27   OUTSIDE COUNSEL EYES ONLY" is incorporated into and necessary to a Party's work product

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 1   that is to be filed or served in the litigation; (ii) the Party discloses to FitNow the relevant excerpts

 2   from the work product that include the information designated "FITNOW HIGHLY

 3   CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY" prior to disclosure to Designated House

 4   Counsel of the Party; (iii) the Party identifies by name and job title the Designated House Counsel,

 5   which shall be limited to two Apple litigation attorneys with primary responsibility for overseeing

 6   the litigation, with whom such work product will be shared for the purpose of reviewing and

 7   approving the work product in advance of filing or service; and (iv) FitNow provides consent to

 8   the disclosure, which shall not unreasonably be withheld;

 9                      (c)     Party Experts (as defined in this Supplemental Protective Order) (1) to whom

10   disclosure is reasonably necessary for the litigation and (2) who have signed the "Acknowledgment

11   and Agreement to Be Bound" (Exhibit A);

12                      (d)     the Court and its personnel;

13                      (e)     court reporters and their staff, professional jury or trial consultants, and

14   Professional Vendors to whom disclosure is reasonably necessary for the litigation and who have

15   signed the "Acknowledgment and Agreement to be Bound" (Exhibit A); and

16                      (f)     the author or recipient of a document containing the information or a

17   custodian or other person who otherwise possessed or knew the information.

18            3.        In light of the judgment in Epic Games, Inc. v. Apple Inc., Case No. 4:20- cv-05640,

19   Dkt. No. 814, and the final judgment of dismissal with prejudice in Cameron v. Apple Inc., Case

20   No. 4:19-cv-03074- YGR, Dkt. Nos. 491 & 494, any discovery produced by FitNow in In re Apple

21   iPhone        Antitrust   Litigation   (Case   No.    4:11-cv-06714-YGR)        and    designated    either

22   "CONFIDENTIAL" or "FITNOW HIGHLY CONFIDENTIAL - OUTSIDE COUNSEL EYES

23   ONLY" shall not be produced in or used in Epic Games, Inc. v. Apple Inc. or Cameron v. Apple

24   Inc.

25            4.        All other provisions of the Protective Order, including Paragraphs 2, 3, 4, 5, 6, 7.1,

26   9, 10, 11, 12, 13, and 14 apply mutatis mutandis to information designated "FITNOW HIGHLY

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                                              STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
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 1   CONFIDENTIAL - OUTSIDE COUNSEL EYES ONLY" to the same extent as they apply to

 2   information designated as "HIGHLY CONFIDENTIAL-ATTORNEYS' EYES ONLY".

 3         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 4   DATED: May 10, 2023                    BALLARD SPAHR LLP
 5                                      By: Isl Robert S. Gutierrez
 6                                           Robert S. Gutierrez (CA Bar No. 143223)
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11                                          MCDERMOTT WILL & EMERY LLP
     DATED: May 10, 2023
12                                      By: Isl Michelle Lowery
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24
                                            Attorneys for Defendant Apple Inc.
25

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 1                                              WOLF HALDENSTEIN ADLER
     DATED: May 10, 2023 _ _ _ _ _ __            FREEMAN & HERZ, LLP
 2
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 3                                              RACHELE R. BYRD

 4                                              MARK C. RIFKIN
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13                                              byrd@whafh.com
                                                manifold@whafh.com
14
                                                Consumer Plaintiffs' Interim Class Counsel
15

16
     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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18

19            May 10, 2023
     DATED: - - ------
                                              HON. THOMAS S. HIXSON
20                                            UNITED STATES MAGISTRATE JUDGE

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                                               GOVERNING DISCOVERY FOR FITNOW, INC.
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 1                                 CF SIGNATURE ATTESTATION

 2          In accordance with Local Rule 5-1, the filer of this document hereby attests that the

 3   concurrence of the filing of this document has been obtained from the other signatories hereto.

 4                                                          WOLF HALDENSTEIN ADLER
     DATED: May 10, 2023 _ _ _ _ _ __                       FREEMAN & HERZ LLP
 5

 6                                                       By: Isl Rachele R. Byrd

 7                                                          RACHELE R. BYRD, CA Bar No. 190634
                                                            byrd@whafh.com
 8
                                                            Consumer Plaintiffs' Interim Class Counsel
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                                         STIPULATED [PROPOSED] SUPPLEMENTAL PROTECTIVE ORDER
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